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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §    CRIMINAL NO. H-07-38
                                                   §
REGINALD THORNTON                                  §

                            ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention pending trial and the Defendant waived his right to a detention hearing. That waiver of
detention hearing is entered in the record as Dkt. No. 161. I conclude that the following facts are
established by a preponderance of the evidence and require the detention of the above-named
defendant pending trial in this case.

                                           Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)     The defendant has been convicted of a (federal offense) (state or local offense that
                 would have been a federal offense if a circumstance giving rise to federal jurisdiction
                 had existed) that is

                      []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                      []     an offense for which the maximum sentence is life imprisonment or
                             death.

                      []     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                      []     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

          [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                  pending trial for a federal, state or local offense.

          [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
                  (release of the defendant from imprisonment) for the offense described in finding 1.
          [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
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                  combination of conditions will reasonably assure the safety of any other person and
                  the community. I further find that the defendant has not rebutted this presumption.

[X ]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [X] (1)       There is probable cause to believe that the defendant has committed an offense

                      [ X]    for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              (X ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ X] (2) The defendant has not rebutted the presumption established by finding 1 that no
                 condition or combination of conditions will reasonably assure the appearance of the
                 defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1)       Defendant is accused of conspiracy to possess with intent to distribute 5
                      kilograms or more of cocaine, and aiding and abetting possession with intent to
                      distribute 500 grams or more of cocaine, in violation of 21 U.S.C. §§ 841 and
                      846.

        [X] (2)       There is a serious risk that the defendant will flee.

        [X] (3)       Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X ]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X ] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                 3142(c) which will reasonably assure the appearance of the defendant as required.


        [X ] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                 § 3142(c) which will reasonably assure the safety of the community.

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                            Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and
by clear and convincing evidence that there is no condition or combination of conditions of release
which would reasonably assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 40 year-old U.S. citizen born in Houston, Texas. He is currently
               incarcerated in Texas state prison. His first parole eligibility date is March 7, 2009.

       2.      Defendant has a lengthy criminal history including convictions for auto theft, forgery,
               assault, and manufacture/delivery of a controlled substance.

       3.      Defendant is charged with drug trafficking offenses carrying potential penalties of 10
               years to life confinement.

       4.      Defendant has not rebutted the statutory presumptions that she is a flight risk and a
               danger to the community.

       5.      There is no condition or combination of conditions of release which would assure
               the safety of the community or defendant’s appearance in court. Detention is ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas on April 16, 2007.




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